                                   COURT OF APPEALS
                                EIGHTH DISTRICT OF TEXAS
                                     EL PASO, TEXAS


 IN RE:                                            §               No. 08-24-00315-CV

 ROBERT JOSEPH GAUDET JR.,                         §         AN ORIGINAL PROCEEDING

                                      Relator.     §                 IN MANDAMUS

                                                   §

                                                   §

                                 MEMORANDUM OPINION

       Relator, Robert Joseph Gaudet Jr., has filed a petition for writ of mandamus asking this

Court to set aside an order of the Honorable Jesus Rodriguez, presiding judge of County Court at

Law No. 5 of El Paso County, Texas, allowing Real Party in Interest Karin Gaudet-Asmus to

testify by Zoom at an upcoming hearing on an application for a Protective Order.

       To be entitled to mandamus relief, a relator generally must meet two requirements. First,

the relator must show that the trial court clearly abused its discretion. In re Prudential Insurance

Co. of America, 148 S.W.3d 124, 135 (Tex. 2004). Second, the relator must demonstrate that he

has no adequate remedy by appeal. Id. at 135–36. After reviewing the mandamus record and

petition, we conclude that Relator has failed to establish that he is entitled to mandamus relief.

Accordingly, we deny the petition. All pending motions are denied as moot.
                                              GINA M. PALAFOX, Justice


August 20, 2024

Before Alley, C.J., Palafox, J, and Barajas, C.J. (Ret.)
Barajas, C.J. (Ret.) (Sitting by Assignment)




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